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17                                                 Attorneys for Defendant Archer Aviation Inc.
18                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA
19                               SAN FRANCISCO DIVISION
20 WISK AERO LLC,                                  Case No. 3:21-cv-02450-WHO
21
                  Plaintiff,                       JOINT STIPULATION TO TAKE
22                                                 CERTAIN DEPOSITIONS OUT OF TIME
           vs.
23
     ARCHER AVIATION INC.,
24
25                Defendant.

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28

                                                                      Case No. 3:21-cv-02450-WHO
                                    JOINT STIPULATION TO TAKE CERTAIN DEPOSITIONS OUT OF TIME
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 1          Pursuant to Federal Rule of Civil Procedure 29(a) and Civil Local Rule 7-12, Plaintiff Wisk
 2 Aero LLC (“Wisk”) and Defendant Archer Aviation Inc. (“Archer,” and together with Wisk, the
 3 “Parties”), by and through their undersigned counsel, hereby stipulate and agree as follows:
 4          WHEREAS, pursuant to the Court’s Order dated October 21, 2022 (Dkt. 359), the deadline
 5 to complete deposition discovery in this case is November 21, 2022.
 6          WHEREAS, Federal Rule of Civil Procedure 29(a) allows parties to stipulate that a
 7 deposition may be taken “at any time” and “be used in the same way as any other deposition.”
 8          WHEREAS, the Parties have each taken numerous depositions, and have worked
 9 cooperatively and in good faith to schedule depositions at times that are amenable to the parties, the
10 parties’ counsel, the witnesses, and where necessary, the witnesses’ independent counsel.
11          WHEREAS, despite the best efforts of both parties, due to scheduling constraints, three
12 depositions could not be scheduled on or before November 21, 2022.
13          WHEREAS, the parties, the parties’ counsel, the witnesses, and where necessary, the
14 witnesses’ independent counsel, have all agreed that three depositions will be taken on November
15 22, 2022. All arrangements, including scheduling court reporters, have been made for these three
16 depositions to take place on November 22, 2022. The three specific depositions are listed below:
17                 i.      Continuing deposition of Geoff Bower, employee of Defendant Archer and
18                 30(b)(6) designee on certain topics.
19                 ii.     Deposition of Nansi Xue, employee of Defendant Archer.
20                 iii.    Deposition of third party ICR, LLC.
21          WHEREAS, taking these depositions on November 22, 2022—one day after the deadline
22 for deposition discovery—will not affect any other deadline and does not require any adjustment of
23 the Court’s scheduling orders.
24          IT IS HEREBY STIPULATED, by and between Wisk and Archer, that pursuant Federal
25 Rule of Civil Procedure 29(a), the three depositions listed above will be taken on November 22,
26 2022, and may be used in the same way as any other deposition.
27
            IT IS SO STIPULATED.
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                                          Respectfully submitted,

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 1 Dated: November 21, 2022      QUINN EMANUEL URQUHART & SULLIVAN, LLP
 2
 3                               By:         /s/ Yury Kapgan_________________________
                                                             Yury Kapgan
 4                                               Attorneys for Plaintiff Wisk Aero LLC
 5
                                 GIBSON DUNN & CRUTCHER LLP
 6
 7                               By:         /s/ Wayne Barsky________________________
                                                          Wayne Barsky
 8
                                              Attorneys for Defendant Archer Aviation Inc.
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 1                          Attestation Pursuant to Civil Local Rule 5-1(h)(3)
 2         I, Yury Kapgan, attest that concurrence in the filing of this document has been obtained
 3 from the other signatories. I declare under penalty of perjury under the laws of the United States
 4 of America that the foregoing is true and correct.
 5
 6 Dated: November 21, 2022              QUINN EMANUEL URQUHART & SULLIVAN, LLP
 7
 8                                       By:            /s/ Yury Kapgan_________________________
                                                                       Yury Kapgan
 9                                                        Attorneys for Plaintiff Wisk Aero LLC
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